OPINION — AG — STATEMENT OF REQUESTING PARTY: " PLEASE DRAFT WHATEVER TYPE OF BILL OR LEGISLATION YOU WOULD DEEM NECESSARY TO EFFECTUATE OR VITALIZE THE PROVISIONS OF ARTICLE V, SECTION 9(A) OF THE OKLAHOMA CONSTITUTION WITH THE ADDITION OF ADDITIONAL SENATORS TO CERTAIN COUNTIES " CITE: 14 O.S.H. 9, 14 O.S.H. 31, ARTICLE V, SECTION 11 ARTICLE V, SECTION 9 (FRED HANSEN)